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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MARYLAND

GOKHAN TARI                              *
1146 Shortleaf Circle
Eldersburg, Maryland 21784               *
Carroll County, Maryland
                                         *
       Plaintiff
                                         *
VS.
                                         *
LORETTA SCHUELER
1030 Liberty Road, Suite 101             *
Eldersburg, Maryland 21784
Carroll County, Maryland                 *

AND                                      *

LORETTA SCHUELER, DDS, LLC               *
2711 Centerville Road, Suite 400
Wilmington, Delaware 19808               *   Civil Case No. 1:10-cv-737

       SERVE ON:                         *   (Unlawful Debt Collection Practices)
       CSC – Lawyers Incorporating
       Service, Resident Agent Company   *
       7 St. Paul Street, Suite 1660
       Baltimore, Maryland 21202         *

AND                                      *

THE INTEGRIS GROUP, LLC                  *
2711 Centerville Road Suite 400
Wilmington, Delaware 19808               *

       SERVE ON:                        *
       Steven Duckworth, Managing Partner
       1030 Liberty Road, Suite 101      *
       Eldersburg, Maryland 21784
                                        *
AND
                                         *




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STEVEN DUCKWORTH                              *
1030 Liberty Road, Suite 101
Eldersburg, Maryland 21784                    *
Carroll County, Maryland
                                              *
       Defendants
*      *     *           *     *        *     *       *       *      *       *       *

                                        COMPLAINT


                                   I.   INTRODUCTION

       1.      This is an action for damages brought by Gokhan Tari, an individual

consumer, against Defendant Steven Duckworth (“Duckworth”) and The Integris Group,

LLC (“Integris”) for violations of the Fair Debt Collection Practices Act, 15 U.S.C §

1692 et seq. (“FDCPA”), against Defendants, Dr. Loretta Schueler, individually, Dr.

Loretta Schueler, DDS, LLC (“Schueler LLC”) and Integris and Duckworth for

violations of Maryland’s Consumer Debt Collection Statute (MD. CODE ANN., COM. LAW

ART. § 14-201 et seq.), which prohibits debt collectors from engaging in abusive,

deceptive, and unfair practices. In addition, this action is brought against Dr. Loretta

Schueler, DDS, LLC and Steven Duckworth and the Integris Group LLC for violation of

Maryland’s Consumer Protection Act (MD. CODE ANN., COM. LAW ART. § 13-301 et

seq.), which declares any violation of the Consumer Debt Collection act an unfair and

deceptive trade practice and also prohibits the other predatory, unfair, and deceptive

actions of Defendants.

                             II. JURISDICTION AND VENUE

       2.      Jurisdiction of this Court arises under 15 U.S.C § 1692k(d), 28 U.S.C §

1337, and supplemental jurisdiction exist for the state law claims pursuant to 28 U.S.C. §


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1367. Declaratory relief is available pursuant to 28 U.S.C. § 2201 and 2202. Venue in

this District is proper in that the Defendants transact business here and the conduct

complained of occurred here.

                                       III. PARTIES

       3.      Plaintiff, Gokhan Tari, is a natural person residing in Carroll County,

Maryland. He is an immigrant, and is legally in this country pursuant to a green card

granting him permanent residency.

       4.      Defendant Steven Duckworth is a natural person engaged in the business

of collecting debts in this state with his principal place of business located in Carroll

County, Maryland. Defendant Duckworth regularly attempts to collect debts alleged to

be due to another and uses the mails and telephones to conduct his actions.

       5.      Defendant Integris is a Delaware company not registered in the State of

Maryland which is in the business of collecting debts in this state with its principal place

of business located in Carroll County, Maryland. Defendant Integris regularly attempts

to collect debts alleged to be due to another and uses the mails and telephones to do so.

       6.       Defendant Duckworth is a “debt collector” as defined by the FDCPA, 15

U.S.C § 1692a(6) and a “collector” attempting to collect an alleged debt arising out of a

consumer transaction as defined by MD. CODE ANN., COM. LAW ART § 14-201.

       7.      Defendant Integris is a “debt collector” as defined by the FDCPA, 15

U.S.C Section 1692a(6) and a “collector” attempting to collect an alleged debt arising out

of a consumer transaction as defined by MD. CODE ANN., COM. LAW ART. § 14-201.

       8.      Defendant Loretta Schueler is a natural person who regularly conducts

business in Carroll County, Maryland. Defendant Schueler, for purposes of the acts

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complained of in this complaint, is a “collector” attempting to collect an alleged debt

arising out of a consumer transaction as defined by MD. CODE ANN., COM. LAW ART. §

14-201.

       9.      Defendant Loretta Schueler, DDS, LLC is a Delaware corporation which

regularly conducts business in Carroll County, Maryland. Schueler LLC is a “collector”

attempting to collect an alleged debt arising out of a consumer transaction as defined by

MD. CODE ANN., COM. LAW ART. § 14-201.

                         IV. FACTS COMMON TO ALL COUNTS

       10.     Loretta Schueler, DDS and/or Loretta Schueler, DDS, LLC performed

dental work on about February 20, 2009. Plaintiff had insurance to cover the procedures

performed and presented all required insurance information to Defendants Scheuler

and/or Schueler LLC. Plaintiff paid $148.80 directly to Defendant Schueler and/or

Schueler LLC at the time of the service. Defendant Schueler and/or Schueler LLC then

submitted two claims for this procedure, one to Plaintiff’s dental insurance and another

claim to his health insurer. These Defendants also submitted anesthesia charges to both

insurers. Plaintiff’s dental insurer originally denied the anesthesia claim, and thus these

Defendants claimed Plaintiff owed $183.60 (the total bill of $332.40 minus the $148.80

already paid). However, Plaintiff’s health insurer had paid this anesthesia amount in full

and issued an explanation of benefits stating Plaintiff had zero liability to the dentist.

Plaintiff attempted to explain to Defendants that he was, therefore, entitled to a refund,

but Defendants refused to issue one and insisted, instead, that Plaintiff owed them money.

       11.     Plaintiff then sought the assistance of the Attorney General, which assisted

in resubmitting the claims to the dental insurer. This dental insurer then made an

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additional payment to Defendants Schueler and/or Schueler LLC, resulting in an

overpayment to these Defendants. The Attorney General has confirmed that Plaintiff is

owed a refund of $102.20 from Defendants. Plaintiff has demanded this but Schueler,

LLC, Schueler and Duckworth have only refunded part of that, $44.00, to Plaintiff. This

refund was made on February 16, 2010 (see letter dated February 23, 2010, Exhibit A).

         12.   On November 4, 2009, Defendant Duckworth, as “managing partner” and

“The Integris Group, LLC” sent Plaintiff a letter (Exhibit B). In the letter Defendant

Duckworth claimed that the Plaintiff failed to pay for services rendered by Dr. Loretta

Schueler’s office.

         13.   In this letter, Defendant Duckworth, as agent of Defendant Integris,

claimed that Plaintiff violated Maryland Criminal Code, which carries up to 18 months in

prison for offenses under $1,000 and up to 15 years for offenses over $1,000. Defendant

further stated that this offense is prosecuted by the Maryland State’s Attorney’s Office,

and once a criminal charge is filed, Plaintiff will be prosecuted for the “crime” even if he

pays.

         14.   Defendant Duckworth, as agent of Defendant Integris, went on to state

that, “being a convicted felon carries significant burden to current and future every day

life and impacts employment, travel, volunteer work, parent participation in school

activities, and numerous other aspects of your existence.”

         15.   Attached to the letter was a statement of criminal charges (Exhibit B, page

2).

         16.   Defendant Duckworth knew that Plaintiff was a legal immigrant. He also

attached to the letter an “Abbreviated chart for criminal defense practitioners of the

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immigration consequences of criminal convictions under Maryland state law” (Exhibit B,

page 3).

       17.     The letter did not contain the following information:

               a. The amount of the debt claimed;

               b. A statement that unless the consumer, within 30 days after receipt of

                  the letter, disputed the validity of the debt, or any portion thereof, the

                  debt will be assumed to be valid by the debt collector;

               c. A statement that if the consumer notifies the debt collector in writing

                  within the thirty-day period that the debt, or any portion thereof, is

                  disputed, the debt collector will obtain verification of the debt or a

                  copy of a judgment against the consumer and a copy of such

                  verification or judgment will be mailed to the consumer by the debt

                  collector, and

               d. A statement that, upon the consumer’s written request within the

                  thirty-day period, the debt collector will provide the consumer with the

                  name and address of the original creditor, if different from the current

                  creditor.

       18.     Defendant Duckworth, without Plaintiff’s permission, contacted Plaintiff’s

employer in November 2009 and discussed with one of his co-workers his medical

history and his immigration status.

       19.     Defendant Schueler LLC filed suit on November 19, 2009 (Exhibit C).

Defendant Duckworth represented Defendant Schueler LLC despite that he is not a

licensed attorney and not legally able to represent this corporation under Maryland law.

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       20.     Neither Defendant Duckworth nor Defendant Integris is licensed in

Maryland as a debt collector by the State of Maryland.

       21.     Defendants Duckworth and Schueler LLC attached the Plaintiff’s Social

Security number as well as medical records to the suit without redacting the personal

identifiable information (see attached, Exhibit C, beginning on page 3, redacted

information shown by black marker).

       22.     The Maryland Attorney General became involved and demanded that the

lawsuit be dismissed (Exhibit D).

       23.     Eventually, on February 3, 2010, the suit filed by Defendant Schueler LLC

and Defendant Duckworth was dismissed.

       24.     As a result of the acts alleged actions stated above, Plaintiff suffered

stress, headaches, nausea, sleep disorders, lack of concentration and embarrassment. He

lost time from work attempting to deal with claims representatives, benefits managers,

the Attorney General’s Office and Defendants. His work performance suffered, resulting

in additional economic losses. Due to Defendants’ publishing of his Social Security

number, he has had to obtain credit report monitoring indefinitely at $14.95 per month.

Plaintiff may have other damages to be determined.

                                       V. CLAIMS

                 COUNT ONE – VIOLATION OF THE FAIR DEBT
                       COLLECTION PRACTICES ACT

       25.     Plaintiff incorporates all prior paragraphs.




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       26.     Defendants Duckworth, individually and as agent of Integris, violated the

Fair Debt Collection Practices Act (“FDCPA”). These Defendants’ violations include,

but are not limited to the following:

               a. Defendants Duckworth and Integris violated 15 U.S.C. § 1692c(b) by

                    communicating with Plaintiff’s employer without his consent.

               b.   Defendants Duckworth and Integris violated 15 U.S.C. § 1692e(3)

                    when Duckworth acted as an attorney when filing suit against Plaintiff

                    even though he was not.

               c. Defendants Duckworth and Integris violated 15 U.S.C. § 1692e(4) by

                    representing that nonpayment of the debt will result in arrest or

                    imprisonment.

               d. Defendants Duckworth and Integris violated 15 U.S.C. § 1692e(5) by

                    threatening to take action (criminal arrest and inference of deportation)

                    which cannot legally be taken or is not intended to be taken.

               e. Defendants Duckworth and Integris violated 15 U.S.C. § 1692e(7) by

                    making the false representation that Plaintiff committed a crime in

                    order to disgrace Plaintiff.

               f. Defendants Duckworth and Integris violated 15 U.S.C. § 1692e(9) by

                    attaching a criminal charging document to the letter of November 4,

                    2009 (Exhibit B), therefore, giving the false representation that the

                    State’s Attorney approved or would approve the criminal charges.

               g. Defendants Duckworth and Integris violated 15 U.S.C. § 1692e(10) by

                    making false representations regarding the debt being owed, the

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          criminal ramifications for non-payment and the possibility of

          deportation in the letter dated November 4, 2009 (Exhibit B) and in the

          lawsuit.

       h. Defendants Duckworth and Integris violated 15 U.S.C. § 1692e(11) by

          failing to disclose that he was a debt collector attempting to collect a

          debt and that any information obtained will be used for that purpose.

          Instead, Defendants falsely attempted to deny this in the letter dated

          November 4, 2009 (Exhibit B).

       i. Defendants Duckworth and Integris violated 15 U.S.C. § 1692f(1) by

          attempting to collect money not expressly authorized by the agreement

          creating the debt or permitted by law. In fact, the Plaintiff is owed

          money.

       j. Defendants Duckworth and Integris violated 15 U.S.C. § 1692g(1) by

          failing, in its letter of November 4, 2009 (Exhibit B), to state the

          amount of the debt.

       k. Defendants Duckworth and Integris violated 15 U.S.C. § 1692g(3) by

          failing, in its letter of November 4, 2009 (Exhibit B), to state that

          unless Plaintiff, with-in thirty days after receipt of the notice, disputes

          the validity of the debt, or any portion thereof, the debt will be

          assumed to be valid by the debt collector.

       l. Defendants Duckworth and Integris violated 15 U.S.C. § 1692g(4) by

          failing, in its letter of November 4, 2009 (Exhibit B), to state that if the

          Plaintiff notifies the debt collector in writing within the thirty-day

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                   period that the debt, or any portion thereof, is disputed, the debt

                   collector will obtain verification of the debt or a copy of a judgment

                   against the consumer and a copy of such verification or judgment will

                   be mailed to the consumer by the debt collector.

               m. Defendants Duckworth and Integris violated 15 U.S.C. § 1692g(5) by

                   failing, in its letter of November 4, 2009 (Exhibit B), to make a

                   statement that, upon the Plaintiff’s written request within the thirty-day

                   period, the debt collector will provide the consumer with the name and

                   address of the original creditor, if different from the current creditor.

               n. Defendants Duckworth and Integris violated 15 U.S.C. § 1692j(a) by

                   stating in its letter of November 4, 2009 (Exhibit B) that Plaintiff’s

                   “criminal offense” is prosecuted by the Maryland State’s Attorney’s

                   Office and that the State’s Attorney’s Office has a “no drop” policy,

                   which gives the false impression that the State’s Attorney’s Office is

                   involved in the collection of this debt.

               o. The FDCPA may have been violated in other ways.

       27.     As a result of the above violations of the FDCPA, the Defendants are

liable to the Plaintiff for declaratory judgment that Defendants Duckworth and Intregis’

conduct violated the FDCPA, and the Plaintiff’s actual damages, statutory damages, and

costs and attorney fees.

       28.     Plaintiff did suffer actual damages, including stress, headaches, nausea,

sleep disorders, lack of concentration, humiliation and embarrassment as well as

economic losses.

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         WHEREFORE, Plaintiff demands judgment against Defendants Duckworth, and

Integris, jointly and severally, in the amount of $500,000 plus statutory damages, court

costs and attorney fees.

                     COUNT TWO – VIOLATION OF MARYLAND’S
                       CONSUMER DEBT COLLECTION ACT

         29.     Plaintiff incorporates all prior paragraphs.

         30.     All Defendants violated MD. CODE ANN., COM. LAW ART. §14-201 et seq.

 Defendants’ violation of this act include, but are not limited to the following:

                 a. Defendant Duckworth, individually and as agent of Integris, Schueler

                     and Schueler, LLC, violated CL 14-202(2) by threatening criminal

                     prosecution.

                 b. Defendant Duckworth, individually and as agent of Integris, Schueler

                     and Schueler LLC, violated CL 14-202(5) by disclosing to Plaintiff’s

                     employer information which affected Plaintiff’s reputation with

                     knowledge that the employer did not have a legitimate business need

                     for the information. Defendant Duckworth called Plaintiff’s

                     employment and spoke directly with Karen Locke in the human

                     resources department. Defendant shared Plaintiff’s medical history

                     and discussed Plaintiff’s “thick accent” and immigrant status with her.

                 c. Defendant Duckworth, individually and as agent of Integris, Schueler

                     and Schueler LLC, violated CL 14-202(6) by sending the letter and its

                     attachments (Exhibit B) which constituted a communication meant to

                     abuse and/or harass Plaintiff and by filing a baseless suit.


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               d. Defendant Duckworth, individually as agent of Integris, Schueler and

                  Schueler LLC; and Defendants Schueler and Schueler LLC violated

                  CL 14-202(8) by making claims and filing suit for money not owed

                  and for making claims and filing suit when in fact, Schueler and

                  Schueler LLC owed Plaintiff money.

               e. Defendant Duckworth, individually and as agent of Integris, Schueler

                  and Schueler LLC, violated CL 14-202(9) by attempting to simulate

                  criminal process against Plaintiff.

               f. Defendant Duckworth, individually and as agent of Integris, Schueler

                  and Schueler LLC, violated CL 14-202(9) by indirectly threatening

                  deportation for Plaintiff’s alleged failure to pay this debt.

               g. Defendants may have violated this statute in other ways to be

                  determined.

       31.     As a result of these violations, Plaintiff suffered damages, including

emotional damages, stress, headaches, nausea, sleep disorders, lack of concentration and

embarrassment. He lost time from work attempting to deal with claims representatives,

benefits managers, the Attorney General’s Office and Defendants. His work performance

suffered, resulting in additional economic losses. Plaintiff may have other damages to be

determined.

       32.     WHEREFORE, Plaintiff demands judgment against Defendants

Duckworth, Integris, Schueler, and Schueler LLC, jointly and severally, in the amount of

$500,000 plus court costs and attorney fees.



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                     COUNT III – VIOLATION OF MARYLAND’S
                         CONSUMER PROTECTION ACT

       33.     Plaintiff incorporates all prior paragraphs.

       34.     Maryland’s Consumer Protection Act states a violation of the Consumer

Debt Collection Act is also a violation of the Maryland Consumer Protection Act. CL §

13-301(14)(iii).

       35.     Defendants Duckworth, Integris, Schueler, and Schueler LLC, as set forth

above, (including, but not limited to, threatening criminal prosecution, contacting

Plaintiff’s employer, and bringing and filing a baseless suit) violated this provision, and

as a direct result Plaintiff suffered damages, including stress, embarrassment and

humiliation.

       36.     Maryland’s Consumer Protection Act states a violation of the Social

Security Number Privacy (CL § 14-3401 et seq.) is also a violation of the Consumer

Protection Act.

       37.     Defendants violated CL § 14-3402 when they publicly disclosed

Plaintiff’s Social Security number.

       38.     In addition, Defendants violated other parts of the Consumer Protection

Act, including but not limited to violation of § 13-301(1) (false, falsely disparaging, or

misleading oral or written statement, visual description, or other representation of any

kind which has the capacity, tendency, or effect of deceiving or misleading consumers)

and § 13-301(3) (failure to state a material fact if the failure deceives or tends to deceive)

by threatening criminal prosecution and deportation, failing to tell Plaintiff that he could

only be civilly liable, holding out Mr. Duckworth to be an attorney or one capable of


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 representing Schueler LLC in court, and may have violated this statute in other ways.

         39.     As a result of Defendants’ violations of these statutes Plaintiff suffered

 damages, including stress, headaches, nausea, sleep disorders, lack of concentration and

 embarrassment. He lost time from work attempting to deal with claims representatives,

 benefits managers, the Attorney General’s office and Defendants. His work performance

 suffered, resulting in additional economic losses. Due to Defendants’ publishing of his

 Social Security number, he has had to obtain credit report monitoring indefinitely at

 $14.95 per month. Plaintiff may have other damages to be determined.

         WHEREFORE, Plaintiff demands judgment against each Defendant, jointly and

severally, in the amount of $500,000 plus court costs and attorney fees.

                                                Respectfully Submitted,


                                                _/s/Jane Santoni________________
                                                Jane Santoni
                                                Federal Bar #05303
                                                Williams & Santoni, LLP
                                                401 Washington Avenue, Suite 200
                                                Towson, Maryland 21204
                                                (410) 938-8666
                                                Attorney for Plaintiffs




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                           UNITED STATES DISTRICT COURT
                                   OF MARYLAND

GOKHAN TARI                              *
1146 Shortleaf Circle
Eldersburg, Maryland 21784               *
Carroll County, Maryland
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       Plaintiff
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VS.
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LORETTA SCHUELER
1030 Liberty Road, Suite 101             *
Eldersburg, Maryland 21784
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AND                                      *

LORETTA SCHUELER, DDS, LLC               *
2711 Centerville Road, Suite 400
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       SERVE ON:                         *       (Unlawful Debt Collection Practices)
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THE INTEGRIS GROUP, LLC                  *
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       SERVE ON:                        *
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STEVEN DUCKWORTH                              *
1030 Liberty Road, Suite 101
Eldersburg, Maryland 21784                    *
Carroll County, Maryland
                                              *
       Defendants
*      *     *        *        *      *       *       *      *       *       *      *

                                   REQUEST FOR JURY TRIAL

       Plaintiffs request that the above captioned action be tried before a jury.

                                              Respectfully Submitted,


                                              _/s/Jane Santoni________________
                                              Jane Santoni
                                              Federal Bar #05303
                                              Williams & Santoni, LLP
                                              401 Washington Avenue, Suite 200
                                              Towson, Maryland 21204
                                              (410) 938-8666
                                              Attorney for Plaintiffs




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